        Case 1:21-cv-02265-APM Document 80 Filed 11/12/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


    CONRAD SMITH, et. al.,                )
                                          )
                        Plaintiffs,       )
                                          )
       v.                                 )
                                          )
    DONALD J. TRUMP, et al.,              )    Civil Case No. 1:21-cv-02265-APM
                                          )
                        Defendants.       )
                                          )
                                          )
                                          )

                       DEFENDANTS’ MOTION TO DISMISS

      Defendants Donald J. Trump and Donald J. Trump for President, Inc.

respectfully move this Court for dismissal of the claims pursuant to Fed. R. Civ. P.

Rule 12(b)(1), 12(b)(2), and 12(b)(6).

      In support of this motion, Defendants submit the accompanying memorandum,

which is fully incorporated herein. For these foregoing reasons, as well as those

within the accompanying memorandum, Defendants move that the Court dismiss

Plaintiffs’ Complaint, with prejudice.


      Dated: November 12, 2021                  Respectfully submitted,

                                                /s/ Jesse R. Binnall
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Case 1:21-cv-02265-APM Document 80 Filed 11/12/21 Page 2 of 3




                                    Attorney for Donald J. Trump and
                                    Donald J. Trump for President, Inc.
        Case 1:21-cv-02265-APM Document 80 Filed 11/12/21 Page 3 of 3




                           CERTIFICATE OF SERVICE


      I certify that on November 12, 2021, a copy of the foregoing was filed with the

Clerk of the Court using the Court’s CM/ECF system, which will send a copy to all

counsel of record.



Dated: November 12, 2021                            /s/ Jesse R. Binnall
                                                    Jesse R. Binnall

                                                    Attorney for Donald J. Trump
                                                    and Donald J. Trump for
                                                    President, Inc.
